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                                                                January 9, 2024

Hon. Catherine O’Hagan Wolfe
Clerk of the Court
United States Court of Appeals for
 the Second Circuit
40 Foley Square
New York, New York 10007

       Re:      Frey v. Bruen, No. 23-365

Dear Ms. Wolfe:

       As directed by the Court’s December 19, 2023 order, defendants-

appellees the City of New York and NYPD Commissioner Edward A.

Caban1 submit this supplemental letter brief addressing the effect of

Antonyuk v. Chiumento, No. 22-2908(L), ECF No. 413-1, __ F.4th __, 2023

U.S. App. LEXIS 32492 (2d. Cir. Dec. 8, 2023), on this appeal. In

Antonyuk, this Court decided consolidated appeals from orders enjoining




1 Edward A. Caban was automatically substituted for Keechant Sewell on July 17,

2023, when Caban succeeded Sewell as NYPD Commissioner. Fed. R. App. P. 43(c)(2).
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provisions of New York State’s Concealed Carry Improvement Act

(CCIA), including several provisions pertaining to gun licensure and the

designation of “sensitive places” where concealed firearms are prohibited.

The Court’s decision confirms in multiple respects that the district court

here providently denied a preliminary injunction as to the three Second

Amendment claims that plaintiff-appellants Jason and Brianna Frey and

William Sappe press on appeal. 2

      First, with respect to N.Y. Penal Law § 400.00(6), which requires a

New York concealed-carry licensee who resides outside of New York City

to obtain a special permit from the City’s licensing officer to carry a

firearm in the City, Antonyuk establishes that (1) the Second Amendment

allows a state to require a license in order to ensure that only responsible,

law-abiding individuals carry firearms; (2) locality-specific licensing is

consistent with the nation’s tradition of firearms regulation; and (3) the

bounded discretion exercised by the NYPD Commissioner in evaluating

special-permit applications is consistent with the Second Amendment.


2 In the opinion and order on appeal, the district court stayed decision on other issues

that overlap with issues presented in Antonyuk and the other consolidated appeals
(A186). After Antonyuk was decided, the district court granted the defendants’
request to maintain the stay pending the outcome of this appeal (ECF No. 98, SDNY
Case No. 21-cv-5334).

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     Second, Antonyuk undermines plaintiffs’ challenge to N.Y. Penal

Law § 400.00(15), to the extent that the provision bars open carry

statewide by concealed-carry licensees. The decision’s standing analysis

confirms that plaintiffs here failed to establish an injury-in-fact from the

prohibition of open carry. Moreover, the decision’s teachings regarding

the proper way to assess historical evidence in a Second Amendment

analysis show that the prohibition of open carry is in line with the

historical tradition of manner-of-carry regulation.

     Third, Antonyuk’s assessment of several sensitive places under the

CCIA effectively resolves plaintiffs’ challenge to the CCIA’s designation

of Times Square, N.Y. Penal Law § 265.01-e(2)(t), and public

transportation    including    subways      and     commuter      rails,   id.

§ 265.01-e(2)(n), as sensitive places. In particular, Antonyuk highlights

the nation’s longstanding tradition of prohibiting firearms in crowded

public spaces, thus leaving no question that the CCIA lawfully prohibits

firearms in Times Square and on public transportation.

       A. Antonyuk shows that the New York City-specific
          special-permit requirement is lawful.

     Antonyuk confirms that the special-permit requirement survives

Second Amendment scrutiny. As a threshold matter, the decision adopts

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the same two-step analysis for Second Amendment claims that the City

articulated in its brief (Brief for City Appellees (“City Br.”) 15-17). The

decision explains that New York State Rifle & Pistol Association v. Bruen,

597 U.S. 1, 142 S. Ct. 2111 (2022), set “out a two-step framework, with

the first step based on text and the second step based on history.”

Antonyuk, Slip Op. 40. And Antonyuk’s application of this framework to

reject a facial challenge to the CCIA’s “good moral character”

requirement provides further reason to conclude that the special-permit

requirement is constitutional.

     At the first step, Antonyuk did not reach, and thus left open for the

Court to resolve in this case, the argument made by the State there—and

by the City here—that a licensing provision designed to ensure that only

law-abiding, responsible persons carry firearms does not implicate

conduct falling within the text of the Second Amendment (City Br. 17-

19). See Antonyuk, Slip Op. 75-77. Nor did Antonyuk have occasion to

consider, and did not foreclose, the City’s further argument here that the

Second Amendment’s text does not speak to whether a state may impose

geographic limits on the effectiveness of a carry license (City Br. 19-20).

The Court may reject plaintiffs’ challenge on either of these grounds.


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     At the second step of the analysis, Antonyuk’s discussion of the

historical tradition supporting the CCIA’s character requirement

confirms that the special-permit requirement passes constitutional

muster. The City has argued that the special-permit requirement is

consistent with a longstanding tradition of limiting public carriage of

firearms to law-abiding, responsible individuals (City Br. 20-26). And

indeed, Antonyuk identified just such a tradition, concluding that

“restrictions forbidding dangerous individuals from carrying guns

comport with ‘this Nation’s historical tradition of firearm regulation.’”

Slip Op. 78 (quoting Bruen, 142 S. Ct. at 2126). The Court went on to hold

that this historical tradition supported the character requirement and

several other challenged licensing provisions. See id. at 85-101, 110-18.

The decision thus refutes plaintiffs’ assertion that there is no historical

tradition supporting gun licensure of any sort (Brief for Plaintiffs-

Appellants (“App. Br.”) 19; Appellants’ Reply Brief (“Reply”) 15 n.21).

     Moreover, Antonyuk supports the City’s argument that the special-

permit requirement fits within a historical tradition of locality-specific

permitting (City Br. 23-25). The Court’s extensive discussion of historical

urban firearms regulations confirms that there is a longstanding


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tradition of licensing at the local level and of taking specific urban

concerns into account when regulating the carrying of firearms. See

Antonyuk, Slip Op. 91-101. The decision observed that “[l]icensing was

the result of changes in American society in the nineteenth century,

including urbanization and concomitant shifts in norms of governance”

and that “city people have long had a different relationship with guns

than their rural neighbors … generally marked by greater concern about

interpersonal violence.” Id. at 96-97. Antonyuk thus establishes that,

rather than requiring a uniform statewide licensing scheme as plaintiffs

suggest (App. Br. 18; Reply 16), the Second Amendment allows for

locality-specific schemes, such as the special-permit requirement, under

which local officials get to decide whether individuals seeking to carry

firearms    within    their   jurisdiction   have    satisfied   all     statutory

requirements.

     Finally, the Antonyuk decision refutes plaintiffs’ assertion that the

special-permit requirement affords licensing officials an impermissible

degree of discretion (Reply 16). In plaintiffs’ view, the possibility that an

out-of-City licensing official and a New York City licensing official could

disagree as to whether an applicant has met the criteria for a carry


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license reveals the licensing scheme to be “arbitrary and subjective” (id.).

But as this Court highlighted, provisions that grant “limited discretion

in applying defined criteria are consistent with our tradition of firearms

regulation.” Antonyuk, Slip Op. 86. Indeed, Antonyuk explains that many

historical laws afforded licensing officials discretion, even without

“objective criteria,” id. at 86-87, and their “widespread adoption by

diverse and distant localities under varying circumstances suggests that

these policies enjoyed broad popular support and were understood at the

time to be consistent with the Second and Fourteenth Amendments,” id.

at 92. The Court summarized the pertinent historical evidence in terms

that apply equally to plaintiffs’ claims here: “[T]he record thus suggests

that the kind of purely ‘objective’ licensing scheme which the district

court deemed required by history and tradition is in fact a historical

outlier.” Id. at 91.

      The Court’s discussion of the CCIA’s grant of “statutorily bounded

discretion,” id. at 85, thus shows that a licensing regulation is not

constitutionally suspect just because different officials could reach

different conclusions in borderline cases about whether an applicant has

satisfied the statutory requirements.


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       B. Antonyuk confirms that the prohibition on open carry
          is lawful.

     Antonyuk’s reasoning also undermines plaintiffs’ challenge to the

State’s prohibition of open carry. See Penal Law § 400.00(15). To start,

the decision’s discussion of the requirements to mount a pre-enforcement

challenge support the City’s contention that plaintiffs lack standing to

challenge this restriction (City Br. 26-28). See Antonyuk, Slip Op. 124-31.

The Court explained that to lodge such a challenge to a sensitive-place

designation, the plaintiff had to articulate both a concrete intention to

visit that place and a credible threat of enforcement. Id. at 124. The Court

held that a plaintiff had standing to challenge the prohibition on carrying

firearms in zoos because he averred that he and his wife “frequently visit”

a zoo “at least once or twice every fall.” Id. at 172 (quotation marks

omitted).

     Here, plaintiffs provided nothing comparable. As the district court

correctly concluded, they never clearly articulated a concrete and specific

intention to carry firearms openly (A163-64). Instead, they offered just

vague and internally inconsistent statements about carrying openly at

some unspecified point in the future. Thus, they did not establish

standing, and this Court should not reach the merits of this claim.

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     On the merits, if the Court addresses them, Antonyuk provides

support for the City’s showing that a prohibition of open carry is

consistent with a historical tradition of gun regulation. As the City has

explained, Bruen itself identifies a historical tradition of regulating the

manner of public carry that supports New York’s open-carry restriction

(City Br. 30-32). The City and State have also pointed to additional

historical regulations of the manner of carrying firearms (see City Br. 30-

31; Br. for State Appellees 31). Antonyuk undermines plaintiffs’

objections to the sufficiency of this evidence.

     First, Antonyuk refutes plaintiffs’ assertion the historical manner-

of-carry regulations are not probative to the extent that they prohibited

concealed rather than open carry (App. Br. 31). The decision confirms

that, as the Supreme Court emphasized in Bruen, the government need

not identify a historical twin for a modern-day gun regulation, and courts

should engage in flexible, analogical reasoning when comparing a

regulation to its historical antecedents. See Antonyuk, Slip Op. 45-57.

The Court explained that, while a clear historical analogue is compelling

evidence of the original public understanding of the right, id. at 48, the

absence of “comparable historical regulations” can prove only so much,


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id. at 52. When considering historical evidence, “courts must be

particularly attuned to the reality that the issues we face today are

different than those faced in medieval England, the Founding Era, the

Antebellum Era, and Reconstruction.” Id. at 49. The Court therefore

embraced a “nuanced approach” that looks at history through a broad

lens. Id. at 50. Particularly when viewed through that lens, the historical

manner-of-carry regulations are probative even if they happened to

authorize a different manner of carry than New York does.

     Second, plaintiffs’ contention that the manner-of-carry regulations

do not establish a historical tradition because they were found in only “a

handful of Antebellum statutes” (Reply 14) is untenable after Antonyuk.

The Court’s decision makes clear that a historical tradition need not have

been “a uniform practice” across all jurisdictions. Antonyuk, Slip Op. 93.

A court’s task is “to determine whether a given modern law is part of the

nation’s tradition of firearm regulation, not the sum of it.” Id. As

Antonyuk explains, Bruen’s dismissal of outlier territorial laws that

contradicted the overwhelming weight of contemporaneous laws does not

suggest that historical laws must always have existed in “significant

numbers” to indicate a tradition. Id. at 52-53. Rather, “[i]n less


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exceptional contexts lacking such [overwhelming]               countervailing

historical evidence,” the fact that legislation was not adopted more

broadly “does not command the inference that legislators there deemed

such a regulation inconsistent with the right to bear arms.” Id. at 53.

     Third, Antonyuk dooms plaintiffs’ attempt to distinguish the

manner-of-carry regulations on the basis that some of them post-dated

the Founding era (App. Br. 17-18). On plaintiffs’ reading, Bruen requires

the government to identify historical evidence from 1791, when the Bill

of Rights was ratified, to support a contemporary gun regulation (Reply

2-3, 15-16). But Antonyuk explained that courts may consider evidence

from well before the Founding through Reconstruction, and even later,

as relevant evidence of a historical tradition. Antonyuk, Slip Op. 55-57.

The decision explains that while 1791 and 1868 are “key dates” for

discerning the original meaning of the constitutional text, it is

“implausible that the public understanding of a fundamental liberty

would arise at a historical moment, rather than over the preceding era,”

or “that such public understanding would promptly dissipate whenever

that era gave way to another.” Id. at 55. So, contrary to plaintiffs’

arguments, historical laws from before, during, and after the Founding


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and Reconstruction eras can all be probative evidence that a

contemporary law is within the nation’s tradition of gun regulation.

       C. Antonyuk confirms that the State has lawfully
          designated Times Square and public transportation as
          sensitive places.

     Finally, Antonyuk’s analysis of several of the CCIA’s designated

sensitive locations is dispositive of plaintiffs’ challenge to the designation

of Times Square and public transportation as sensitive locations.

     From a methodological standpoint, the Antonyuk Court endorsed

the analytical approach that the City advocated for in its brief, under

which the government can defend a firearm restriction by identifying

multiple historical traditions that collectively support a modern

restriction (City Br. 43). The Court’s analysis shows that the government

need not identify a single lineal ancestor of a modern regulation; a

confluence of historical traditions may also together demonstrate that a

modern regulation is constitutional. Thus, the Court determined that the

historical tradition of prohibiting firearms in crowded places, coupled

with historical prohibitions on firearms in places where children gather

and places of educational and scientific opportunity, supported the

CCIA’s designation of zoos as sensitive locations. Antonyuk, Slip Op. 200-


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202. Likewise, the Court held that historical laws barring guns in

crowded places, together with a tradition of barring intoxicated persons

from carrying or purchasing guns, supported the CCIA’s restriction of

guns in establishments that serve alcohol. Id. at 213.

     Antonyuk’s application of this approach, when resolving challenges

regarding urban parks and theaters, refutes plaintiffs’ challenge here.

The Court upheld the designation of urban parks as sensitive locations

because there is a historical tradition of prohibiting firearms “in

quintessentially crowded areas and public forums.” Antonyuk, Slip Op.

183. Similarly, the Court upheld the designation of theaters as sensitive

places as part of a tradition of barring firearms in “discrete, densely

crowded physical spaces wherein people assemble for amusement,

educational, or literary purposes.” Id. at 230. To reach its conclusion that

firearms can be banned in such acutely crowded spaces, Antonyuk

surveyed laws “beginning from medieval England and extending beyond

Reconstruction,” id. at 186, that restricted firearms in “often-crowded”

and “densely trafficked public forums,” id. at 200; see generally id. at 184-

199, 228-32.




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     As the City argued (Br. 43-47), the same confluence of historical

traditions that Antonyuk identified as supporting the CCIA’s prohibition

of firearms in urban parks and theaters supports the CCIA’s designation

of Times Square, subways, and commuter rails—densely packed spaces

where strangers of all ages and from all walks of life are often found

shoulder-to-shoulder—as sensitive locations. These locations are modern

equivalents of the “crowded ‘public squares’ such as fairs, markets, and

19th century urban parks,” where firearms traditionally were prohibited.

Antonyuk, Slip Op. 201. And they feature the “high population density in

discrete, confined spaces … [that] has historically justified firearms

restrictions.” Id. Moreover, the historical laws burdened the Second

Amendment right “in a distinctly similar way (i.e., by prohibiting

carriage)” as the prohibition on firearms in Times Square and on public

transportation and “for a distinctly similar reason (i.e., maintaining order

in often-crowded public squares).” Id. at 193-94.

     Antonyuk also supports the City’s contention that any assessment

of regulations of public transportation must account for the significant

technological and societal changes in transportation since the Founding

(City Br. 50-51). The decision emphasized that differences between the


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concerns of past eras and those of the present mean that “the lack of a

distinctly similar historical regulation … may not be reliably dispositive

in Second Amendment challenges to laws addressing modern concerns.”

Antonyuk, Slip Op. 49-50. So too, the decision cautioned that the absence

of closely analogous regulations may show “lack of political demand

rather than constitutional limitation.” Id. at 49 (quotation marks

omitted). These points are directly relevant here, given both the dramatic

expansion of mass transit in the nineteenth century and the private

regulation of trains in that era that made governmental regulation

unnecessary (see City Br. 48, 50-51).

     In all of these ways, Antonyuk offers further support for the district

court’s denial of a preliminary injunction. This Court should affirm.

                                          Respectfully submitted,

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                                     By: /s/ Claude S. Platton
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